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                                     United States District Court
                                      Southern District of Ohio
                                 Eastern Division at Columbus, Ohio

United States of America

-vs-                                                              Case No. 2:21-cr-219

Michaela Samuel



                                      COURTROOM MINUTES
                                      Arraignment on Information

 U.S. District Chief Judge Algenon L. Marbley           Date: January 28, 2022 @ 9:45 a.m.
 Deputy Clerk:         Diane Stash                      Counsel for Govt:      Sal Dominguez
 Court Reporter:       Shawna Evans                     Counsel for Deft(s):   Chase Mallory
 Interpreter:          N/A                              Pretrial/Probation:
 Log In                n/a                              Log Out                n/a


Defendant consented to proceed via video.

Defendant entered a guilty plea to Count I of the Information.

PSI report ordered.

Defendant to remain in custody pending sentencing.
